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14   Attorneys for Plaintiffs                               and Paulino Cortes-Vazquez

15
                            IN THE UNITED STATES DISTRICT COURT
16

17         FOR THE NORTHERN DISTRICT OF CALIFORNIA, SAN JOSE DIVISION

18

19
     JESUS ABRAHAM LOPEZ-GUTIERREZ,                         Case No. 17-cv-05822-BLF
20   ALAN ULISES MEZA-LUGO, GUSTAVO
     CEJA-ALVARO, and PAULINO CORTES-                       DECLARATION OF ANA VICENTE
21   VASQUEZ,                                               DE CASTRO IN SUPPORT OF
                                                            PLAINTIFFS MOTION TO FILE
22          Plaintiffs,                                     SECOND AMENDED COMPLAINT
23   v.
24
     FOOTHILL PACKING, INC, AND DOES 1-
25   20, INCLUSIVE,

26          Defendants.

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                                                        1
      DECLARATION OF ANA VICENTE DE CASTRO IN SUPPORT              Lopez-Gutierrez et al.v. Foothill Packing, Inc.
      OF MOTION TO FILE SECOND AMENDED COMPLAINT                                   Case No. 5:17-cv05822 BLF
              Case 5:17-cv-05822-BLF Document 45-1 Filed 02/20/18 Page 2 of 4



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 2
            I, Ana Vicente de Castro, declare as follows:
 3
     1.     I am an attorney admitted to practice in the State of California. I am a staff attorney at
 4

 5
     California Rural Legal Assistance, Inc., in Salinas, California. I am counsel of record for some

 6   Plaintiffs in this action, along with California Rural Legal Assistance Foundation and
 7   Community Legal Services of Arizona. I have personal knowledge of the information set forth
 8
     herein and if called upon to do so, I would testify to the truth of the following facts.
 9
     2.     Plaintiffs JESUS ABRAHAM LOPEZ-GUTIERREZ, ALAN ULISES MEZA-LUGO
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11   filed this action on May 4, 2017, in the Superior Court of California County of Monterey.

12   3.     On September 22, 2017, the Superior Court OF California County of Monterey granted
13
     leave to amend the complaint to add Plaintiffs GUSTAVO CEJA-ALVARO, and PAULINO
14
     CORTES-VASQUEZ, and to add a Private Attorney General Act (PAGA) cause of action.
15
     4.     Defendants removed the action to the United States District Court of the Northern
16

17   District of California on October 10, 2017 (ECF Doc 1).

18   5.     This Court issued a Case Management Order on December 21, 2017 setting the deadline
19
     for joinder of any additional parties, or other amendments to the pleadings, sixty days after entry
20
     of the order (ECF Doc 33).
21

22   6.     In December of 2017, my co-counsel Amanda Caldwell was contacted by employees of

23   Defendant Foothill Packing Inc. seeking her representation and to be included in this action.
24
     7.     On January 30, 2018, Plaintiffs’ counsel decided to include the employees mentioned
25
     above in this action.
26
     8.     Plaintiffs have added LUIS MANUEL VALDEZ-MARTINEZ, JUALIAN GARCIA-
27

28   REYES, ARMANDO BELMONTE-MEJIA, JORGE LUIS CERVANTES-ESPINOZA,
                                                        2
      DECLARATION OF ANA VICENTE DE CASTRO IN SUPPORT            Lopez-Gutierrez et al.v. Foothill Packing, Inc.
      OF MOTION TO FILE SECOND AMENDED COMPLAINT                                 Case No. 5:17-cv05822 BLF
                Case 5:17-cv-05822-BLF Document 45-1 Filed 02/20/18 Page 3 of 4



 1   JAVIER CASTILLO-PADILLA, JUAN LEONARDO NUNEZ-MUNOZ, JESUS ESAUL
 2
     CASTILLO-PADILLA (Proposed Plaintiffs)’ names to the complaint and facts necessary to
 3
     support their claims.
 4

 5
     9.     Plaintiffs’ counsel mistakenly omitted facts about Plaintiffs CEJA-ALVARO and

 6   CORTES-VASQUEZ’s uncompensated time exercising, waiting at the fields at the beginning of
 7   the workday and waiting for transportation in the FAC. These are not new facts to this action,
 8
     these facts were pled for Plaintiffs LOPEZ-GUTIERREZ and MEZA-LUGO. Plaintiffs now ask
 9
     to add these facts to the SAC.
10

11   10.    Plaintiffs requested award of PAGA civil penalties under Labor Code §§ 203, 210, 226.3,

12   558, 1174.5, 1197.1, 2699(f), and 2810(g). (FAC ¶ 97).
13
     11.    Plaintiffs seek to add language to the relief section describing the distribution of the civil
14
     penalties to the Labor Workforce Development Agency and aggrieved workers under the
15
     sections mentioned above.
16

17   12.    One of the letters in Plaintiff PAULINO CORTES-VASQUEZ was misspelled in the

18   FAC. The name that appears in the FAC is PAULINO CORTEZ-VASQUEZ but the correct
19
     name is PAULINO CORTES-VASQUEZ. Plaintiffs now request to correct Plaintiff CORTES-
20
     VASQUEZ.
21

22   13.    Plaintiffs’ counsel included Exhibit B to the FAC but some pages were missing from the

23   ETA Form 9142A. Plaintiffs seek to add pages to Exhibit B.
24
     14.    I submitted a letter giving notice of Plaintiffs LOPEZ-GUTIERREZ and MEZA-LUGO’s
25
     intent to pursue claims under PAGA on behalf of other aggrieved employees to the Labor
26
     Workforce Development Agency (LWDA) and Defendant FOOTHILL PACKING, INC. on May
27

28   8, 2017.
                                                        3
      DECLARATION OF ANA VICENTE DE CASTRO IN SUPPORT            Lopez-Gutierrez et al.v. Foothill Packing, Inc.
      OF MOTION TO FILE SECOND AMENDED COMPLAINT                                 Case No. 5:17-cv05822 BLF
              Case 5:17-cv-05822-BLF Document 45-1 Filed 02/20/18 Page 4 of 4



 1   15.    I contacted Defendant’s counsel on February 15, 2018, and informed them that Plaintiffs’
 2
     counsel was going to seek leave to amend the complaint to add Plaintiffs to this action
 3
     16.    On February 16, 2018, I sent a draft of the Proposed Second Amended Complaint to
 4

 5
     Defendant’s counsel seeking stipulation of amendment.

 6   17.    On February 20, 2018, Defendant’s counsel informed that they would not stipulate to
 7   amendment of complaint. (Exhibit 1).
 8
     18.    Plaintiffs ask this court to grant their motion to amend the complaint to add Plaintiffs and
 9
     other minor corrections.
10

11          I declare under penalty of perjury under the laws of the United States and the State of

12   California that the foregoing is true and correct.
13
     Executed this 20th day of February 2018 in Salinas, California
14

15                                                  /s/ Ana Vicente de Castro____
                                                    Ana Vicente de Castro
16
                                                    CALIFORNIA RURAL LEGAL ASSISTANCE
17                                                  Attorneys for Plaintiffs

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      DECLARATION OF ANA VICENTE DE CASTRO IN SUPPORT          Lopez-Gutierrez et al.v. Foothill Packing, Inc.
      OF MOTION TO FILE SECOND AMENDED COMPLAINT                               Case No. 5:17-cv05822 BLF
